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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  10/13/2021
 WHITE LILLY, LLC and JONATHAN
 BERNSTEIN,

                                  Plaintiff,                 18-cv-12404 (ALC)

                      -against-                              AMENDED ORDER SETTING
                                                             STATUS CONFERENCE
 BALESTRIERE PLLC ET AL.,

                                  Defendant.

ANDREW L. CARTER, JR., United States District Judge:

         The Court will hold a status conference on Wednesday, October 13, 2021 at 3:30PM

Eastern Time in connection with (i) the proposed briefing schedule for the Balestriere

Defendants’ and Plaintiffs’ post-award motion and cross-motion, ECF Nos. 64-65, and (ii) the

Storch Parties’ objections to same. ECF No. 67-68. All parties shall appear and should contact the

Court at 1-888-363-4749 (access code: 3768660).

SO ORDERED.

Dated:     October 13, 2021
           New York, New York

                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
